

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-75,588-01






EX PARTE WILLIAM EARL DOOLEY, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. W-92,67437-N(A) IN THE 195TH JUDICIAL DISTRICT COURT


FROM DALLAS COUNTY






	Per curiam.


O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant entered an open plea of guilty to
delivery of a controlled substance and was sentenced to twenty years' imprisonment.   

	Applicant contends, inter alia, that his counsel rendered ineffective assistance because 
counsel failed to timely file a notice of appeal.  Applicant alleges that he was advised that he could
appeal by the sentencing court, and that he told counsel that he wanted to appeal, but that he never
heard from counsel again.  The trial court recommends dismissing this application, based on an
affidavit provided by the State indicating that Applicant has discharged his sentence in this case. 
The information provided in the affidavit is incorrect.  Applicant, although currently out on parole
or mandatory supervision, will not discharge his sentence in this case until 2012.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).   In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide counsel with the opportunity to respond to Applicant's claim of ineffective assistance
of counsel on appeal.  The trial court may use any means set out in Tex. Code Crim. Proc. art.
11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether Applicant told his trial counsel that
he wanted to appeal, and if so, whether counsel filed a notice of appeal, or whether appellate counsel
was appointed.  The trial court shall make findings as to whether Applicant was denied his right to
a meaningful appeal because Applicant's counsel failed to timely file a notice of appeal.  The trial
court shall also make any other findings of fact and conclusions of law that it deems relevant and
appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 


Filed: April 6, 2011

Do not publish


